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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JAVIER GONZALEZ-LOZA,                          )
                                                )
                              Plaintiff,        )
                                                )    No. 19 C 3046
                      v.                        )
                                                )    Judge Kennelly
 COUNTY OF KANKAKEE, et al.                     )
                                                )
                              Defendants.       )

            INDIVIDUAL FEDERAL DEFENDANTS’ MOTION TO DISMISS

       Lorne K. Stenson and Marlon Burton, by their attorney, John R. Lausch, Jr., United States

Attorney for the Northern District of Illinois, move to dismiss with prejudice the claims against

them in the fourth amended complaint, pursuant to Fed. R. Civ. P. 12(b)(6). A supporting

memorandum accompanies this motion.

                                            Respectfully submitted,

                                            JOHN R. LAUSCH, Jr.
                                            United States Attorney

                                            By: s/ Sarah J. North
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